                                                                              Case 3:05-cr-00167-WHA           Document 815        Filed 10/04/06     Page 1 of 1



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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,                               No. CR 05-00167 WHA
                                                                         11
United States District Court




                                                                                            Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                    ORDER RE MOTION FOR
                                                                         13                                                           LEAVE FOR LATE FILING
                                                                              EDGAR DIAZ, RICKEY ROLLINS,                             NOTICE OF INTENT TO SEEK
                                                                         14   DON JOHNSON, ROBERT CALLOWAY,                           THE DEATH PENALTY AGAINST
                                                                              DORNELL ELLIS, EMILE FORT,                              EMILE FORT
                                                                         15   CHRISTOPHER BYES, PARIS
                                                                              RAGLAND, RONNIE CALLOWAY,
                                                                         16   ALLEN CALLOWAY, and REDACTED
                                                                              DEFENDANTS NOS. ONE & TWO,
                                                                         17                 Defendants.
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                                                                         19          Counsel for defendant Fort is ordered to file an opposition or other response to the
                                                                         20   government’s Motion for Leave for Late Filing Notice of Intent to Seek the Death Penalty
                                                                         21   Against Emile Fort by 9:00 A.M. ON OCTOBER 5, 2006.
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                                                                         23          IT IS SO ORDERED.
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                                                                         25   Dated: October 4, 2006
                                                                         26                                                      WILLIAM ALSUP
                                                                                                                                 UNITED STATES DISTRICT JUDGE
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